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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    CHARLES J. LEE, Bar #221057
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    MARK MCGRATH
7
8                                  IN THE UNITED STATES DISTRICT COURT
9                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )               No. 1:10-cr-00131 AWI
                                           )
12                 Plaintiff,              )               STIPULATION AND ORDER TO CONTINUE
                                           )               STATUS CONFERENCE
13     v.                                  )
                                           )               DATE: October 3, 2011
14   MARK MCGRATH,                         )               TIME: 11:00 A.M.
                                           )               JUDGE: Hon. Anthony W. Ishii
15                 Defendant.              )
     _____________________________________ )
16
17             IT IS HEREBY STIPULATED by and between the parties hereto through their respective
18   counsel that the status conference in the above-captioned matter now set for September 12, 2011, may be
19   continued to October 3, 2011 at 11:00 P.M.
20             This continuance is at the request of defense counsel as the parties have reached a resolution but
21   Mr. McGrath travels from Bakersfield by train and needs to make arrangements to attend court. It is
22   defense counsels understanding that the case, currently set for 11:00 a.m. on September 12, will be moved
23   to the 8:30 a.m. calendar. Because of the difficulty for Mr. McGrath to arrive at that time, this
24   continuance is requested.
25             The parties agree that the delay resulting from the continuance shall be excluded in the interests
26   of justice, including but not limited to, the need for the period of time set forth herein for effective defense
27   preparation and for plea negotiation purposes pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and
28   3161(h)(7)(B)(i) and (iv).
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1
                                                     Respectfully submitted,
2
                                                     BENJAMIN B. WAGNER
3                                                    United States Attorney
4
     DATED: September 7, 2011                   By: /s/ Karen Escobar
5                                                   KAREN ESCOBAR
                                                    Assistant United States Attorney
6                                                   Attorney for Plaintiff
7
                                                     DANIEL J. BRODERICK
8                                                    Federal Defender
9
     DATED: September 7, 2011                   By: /s/ Charles J. Lee
10                                                 CHARLES J. LEE
                                                   Assistant Federal Defender
11                                                 Attorney for Defendant
                                                   MARK MCGRATH
12
13
14
15
16
17                                           ORDER
18
19   IT IS SO ORDERED.
20
     Dated:      September 7, 2011
21   0m8i78                                           CHIEF UNITED STATES DISTRICT JUDGE
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     McGrath - Stipulation and Order             2
